
54 N.Y.2d 775 (1981)
In the Matter of Robert C. Buhlmann, Appellant,
v.
Sandra Le Fever et al., Constituting the Board of Elections of the County of Rockland, et al., Respondents.
Court of Appeals of the State of New York.
Argued September 1, 1981.
Decided September 3, 1981.
Ronald A. Phillips for appellant.
Martin Hurwitz for Board of Elections of County of Rockland, respondent.
Gilbert E. McCormack for Nicholas L. Vertullo, respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed, without costs, for reasons stated in the memorandum at the Appellate Division.
